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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Richard Wayne Thompson,                        NO. CV-22-00001-PHX-DJH (MTM)
10                 Plaintiff,
                                                   JUDGMENT OF DISMISSAL IN A
11   v.
                                                   CIVIL CASE
12   Melissa J Collier,
13                 Defendant.
14
15          Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.

17          IT IS ORDERED AND ADJUDGED that pursuant to the Court’s order filed
18   January 10, 2022, Plaintiff to take nothing, and the complaint and action are dismissed

19   without prejudice.

20                                           Debra D. Lucas
                                             District Court Executive/Clerk of Court
21
22   January 10, 2022
                                             s/ Rebecca Kobza
23                                     By    Deputy Clerk
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